             Case 6:18-bk-05179-CCJ           Doc 19     Filed 11/28/18    Page 1 of 18
  


                              UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA


In re:                                              Case No. 6:18-bk-05179-CCJ
                                                    Chapter 7
Bassam Alkowni
Haseena Khan,

         Debtors                /

      CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL REAL ESTATE
     SERVICES AND CENTURY 21 CARIOTI TO PROCURE CONSENTED PUBLIC SALE
                    PURSUANT TO 11 U.S.C. §§327, 328 AND 330

                   Arvind Mahendru, as Chapter 7 Trustee (the “Trustee”) for the above referenced

 debtor (the “Debtors”), by and through the undersigned counsel, files this Application for entry of an

 order, substantially in the form attached hereto as Exhibit A, authorizing retention of (1) BK Global

 Real Estate Services (“BKRES”) under the terms set forth in the agreement (the “BKRES

 Agreement”) attached to BKRES’ Affidavit of Disinterestedness at Exhibit B (the “BKRES

 Affidavit”) and (2) KAVITA UTTAMCHANDANI of Century 21 Carioti (“Listing Agent”) under

 the terms of the agreement (the “Listing Agreement”) attached to Listing Agent’s Affidavit of

 Disinterestedness at Exhibit C (the “Listing Agent Affidavit”). In support thereof, the Trustee

 respectfully states as follows:

                                         PRELIMINARY STATEMENT

                   Trustee requests approval to retain BKRES and Listing Agent, at no cost to the estate,

 to negotiate with and persuade the first lienholder on certain real property in which the estate has no

 equity to (1) allow Trustee to sell such property at the highest price that the market will bear,

 (2) waive the resulting deficiency claim and (3) pay a 11 U.S.C. § 506 surcharge to provide a

 carveout for the benefit of the estate and pay all other sale expenses, including a 6% brokerage




  
           Case 6:18-bk-05179-CCJ          Doc 19     Filed 11/28/18    Page 2 of 18
 


commission that will be shared equally by BKRES and Listing Agent only upon the closing of a sale

that is approved by this Court.

               BKRES and its affiliates have proprietary technology and a national team of

experienced loan servicing specialists, asset managers, negotiators, trustee relation managers, real

estate brokers and agents, closing specialists and attorneys with extensive experience in procuring

the consent of mortgage lenders and servicers to sell over-encumbered properties and provide

significant cash recoveries to selling estates with no equity, through the Consented Sale™ process

described herein.

               The proposed agreements are attached and provide that BKRES and Listing Agent

will not be entitled to any compensation from the estate whatsoever under any circumstances. They

will only receive and share a customary brokerage commission that is paid by secured creditor as a

11 U.S.C. § 506 surcharge approved by this Court.

               The Trustee (1) believes that hiring BKRES and Listing Agent to pursue a Consented

Sale™ will likely result in secured creditor paying a carveout for the benefit of the estate with

proceeds from the public sale of an asset in which the estate has no equity and (2) expects to obtain

Secured Creditor’s agreement to a Consented Sale™, and bring a separate motion seeking this

Court’s approval of the procedures, terms and conditions by which the over-encumbered property

will be sold, within the coming months.

                                            JURISDICTION

               1.      This Court has jurisdiction to consider this Application pursuant to 28 U.S.C.

§§ 157 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A),

(M), (N), and (O).

               2.      Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

                                                  2
                      Case 6:18-bk-05179-CCJ                    Doc 19      Filed 11/28/18    Page 3 of 18
 


                                                                 BACKGROUND

                         3.                 On 08/24/2018, the Debtors commenced this case by filing a voluntary

petition for relief under Chapter 7 of the United States Bankruptcy Code.

                         4.                 Thereafter, the Trustee was appointed as the Chapter 7 trustee in this case.

                         5.                 The Trustee held and concluded the 341 meeting on 10/02/2018.

                         6.                 The Debtors are the sole owners of real property located at 10436 SPARKLE

CT ORLANDO, FL 32836 (the “Property”).

                         7.                 The Debtors’ schedules reflect that the Property value is but is subject to a

first mortgage lien (the “Senior Mortgage”) in favor of Bank of America (the “Secured Creditor”) in

an amount exceeding $258,000.00.

                         8.                 The Trustee, after reviewing certain materials, including (without limitation)

the BK Score™1, sales analysis report and opinion of value for the Property provided by BKRES

and Listing Agent, has determined it to be in the best interest of the Debtors’ estate and all creditors

to negotiate to obtain Secured Creditor’s agreement and consent (“Consent”) to:

                           a. sell the Property to whichever third party Trustee determines to have made the best

                                   qualified offer during a public sale approved by the Court;

                           b. buy the Property from the Debtors’ estate if (and only if) no such offer is made;

                           c. release the Senior Mortgage and otherwise waive all of its claims against the estate

                                   with respect to the Property (including any deficiency claims resulting from the

                                   proposed sale); and




                                                            
1
 The BK Score™ is a 100-point rating that is generated by a proprietary algorithm from 10 unique property attributes in
order to consistently measure sales confidence and predict market value.
                                                                        3
           Case 6:18-bk-05179-CCJ            Doc 19     Filed 11/28/18    Page 4 of 18
 


                d. agree to a 11 U.S.C. § 506 surcharge to pay all of the expenses associated with the

                    proposed sale, including the payment of a 6% real estate brokerage commission to

                    BKRES and Listing Agent and reimbursement of their out-of-pocket expenses, and

                    provide a carveout for the benefit of allowed unsecured creditors of the Debtors’

                    estate.

               9.        Trustee expects BKRES and Listing Agent to obtain Secured Creditor’s

Consent and bring a separate motion seeking an order approving the sale of the Property (the

“Motion to Approve Sale”) within several months of the entry of the order sought by this

Application.

           10.           By this Application, the Trustee requests authority pursuant to Sections 327,

328(a) and 330 of the Bankruptcy Code to (a) retain BKRES and Listing Agent to procure Secured

Creditor’s Consent, and (b) approve Secured Creditor’s payment of the fees described below directly

to BKRES and Listing Agent at closing of the sale of the Property, if and when the Consent and

Motion to Approve Sale are granted.

                                              APPLICATION

           11.           Section 328(a) of the Bankruptcy Code provides, in relevant part, that a debtor

“with the court’s approval, may employ or authorize the employment of a professional person under

section 327...on any reasonable terms and conditions of employment, including on a retainer, on an

hourly basis, on a fixed percentage or fee basis, or on a contingent fee basis.” 11 U.S.C. § 328(a).

Section 330 of the Bankruptcy Code permits the Court to “award to a trustee… or a professional

person employed under section 327…(A) reasonable compensation for actual, necessary services

rendered [by such party]… and (B) reimbursement for actual, necessary expenses.” 11 U.S.C.

§ 330(a)(1).

                                                    4
                      Case 6:18-bk-05179-CCJ                   Doc 19      Filed 11/28/18   Page 5 of 18
 


                       12.                  As further described in the materials attached to their affidavits, BKRES2 and

Listing Agent have extensive experience obtaining the consent and agreement of mortgage lenders

and servicers to the sale of their collateral and resolution of any resulting unsecured claims in order

to produce a recovery for estates from over-encumbered assets in which the estate has no equity.

                       13.                  The Trustee believes that the highest and best value for the Property will be

generated through a sale in which the Property is widely marketed to the public and offered at the

highest price that the market will bear. The Trustee further believes that such a sale is in the best

interest of the Debtors’ estate but can only be achieved if Secured Creditor’s Consent is first

obtained. That is why the Trustee believes that retaining BKRES and Listing Agent to obtain

Secured Creditor’s Consent is in the best interests of the Debtors’ estate.

                       14.                  In no event will the estate have any obligation to pay BKRES or Listing

Agent. The terms of the BKRES Agreement and Listing Agreement provide that BKRES and

Listing Agent are only entitled to payment if and when (a) Secured Creditor grants its Consent,

(b) the Motion to Approve Sale is granted and (c) the Property is sold, in which event BKRES and

Listing Agent will receive and share a 6% real estate brokerage commission at closing in accordance

with the order approving the sale. BKRES and Listing Agent will not be entitled to any fees if

Secured Creditors do not grant its Consent or the Court does not grant the Motion to Approve Sale.

                       15.                  The Trustee submits that the terms of employment and compensation as set

out in the BKRES Agreement and Listing Agreement are reasonable in light of the extensive

experience of BKRES and Listing Agent and the nature of the services they provide.




                                                            
2
    BKRES is the broker affiliate of BK Global (http://www.bkginc.com/).
                                                                       5
            Case 6:18-bk-05179-CCJ          Doc 19      Filed 11/28/18     Page 6 of 18
 


            16.        BKRES attested that it is a disinterested person within the meaning of

Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and

2016(a). Attached hereto as Exhibit B is an Affidavit of Disinterestedness of BKRES. BKRES also

attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee with any individual or

entity other than Listing Agent.

            17.        Listing Agent attested that it is a disinterested person within the meaning of

Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and

2016(a). Attached hereto as Exhibit C is an Affidavit of Disinterestedness of Listing Agent. Listing

Agent also attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee with any

individual or entity other than BKRES.


                                              CONCLUSION

       For the foregoing and all other necessary and proper purposes, the Trustee seeks the Court’s

authority to retain BKRES and Listing Agent in this case, and requests that the Court approve the

compensation arrangements set forth in the BKRES Agreement and Listing Agreement pursuant to

Sections 327, 328(a) and 330 of the Bankruptcy Code.

                                                        Respectfully submitted,


                                                        By: Arvind Mahendru
                                                        Arvind Mahendru
                                                        5703 Red Bug Lake Rd. #284
                                                        Winter Springs, FL 32708
                                                        Phone: (407) 504-2462




 
                                                    6
           Case 6:18-bk-05179-CCJ        Doc 19     Filed 11/28/18    Page 7 of 18
 


                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was sent by US first
class mail to the parties listed below on November 28, 2018.

Bassam R. Alkowni, Haseena Khan, 10436 SPARKLE CT, ORLANDO, FL 32836;

J Craig Bourne, Law Office of J Craig Bourne, 1415 East Robinson St., Suite A, Orlando, FL 32801


                                                    /s/ Arvind Mahendru
                                                    Arvind Mahendru




                                                7
             Case 6:18-bk-05179-CCJ            Doc 19     Filed 11/28/18     Page 8 of 18
  



  

                              UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORA

In re:                                              Case No. 6:18-bk-05179-CCJ
                                                    Chapter 7
Bassam Alkowni
Haseena Khan,


         Debtors                 /

     ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE TO RETAIN BK GLOBAL REAL
            ESTATE SERVICES AND CENTURY 21 CARIOTI TO PROCURE
         CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §327, 328 AND 330

         Upon the Notice and Application of Arvind Mahendru, the trustee in the above-captioned

 case (“Trustee”), to Retain BK Global Real Estate Services and Century 21 Carioti to Procure

 Consented Public Sale pursuant to 11 U.S.C. § 327, 328 and 330 (“Application”) [Docket No. ], the

 Court having reviewed and considered the Notice, Application and the Affidavit of Disinterestedness

 and having found good and sufficient cause appearing therefore and the same to be in the best

 interest of Debtors and the creditors the Court hereby FINDS that:

             A. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).

             B. Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C. §§

         1408 and 1409.

             C. Notice of the Application was sufficient under the circumstances.

                   Based upon the foregoing findings of fact, it is hereby

                   ORDERED, ADJUDGED, AND DECREED that:

              1.          The Application is hereby GRANTED.



                                                      8
           Case 6:18-bk-05179-CCJ             Doc 19   Filed 11/28/18   Page 9 of 18
 


             2.        Defined terms not otherwise defined herein have the meanings given to them

in the Application and the Affidavit.


             3.        The Trustee is authorized to retain and compensate BKRES and Listing Agent

to procure Secured Creditor’s Consent, and otherwise market and sell the Property, in Debtors’

Chapter 7 case pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code, and Bankruptcy

Rules 2014 and 2016, in accordance with the terms and conditions set forth in the BKRES

Agreement, the Listing Agreement and this Order. BKRES and Listing Agent shall not split or

otherwise share their fees with any other person or entity.

             4.        BKRES and Listing Agent are disinterested persons within the meaning of

Bankruptcy Code Section 101(14).

             5.         BKRES and Listing Agent shall be compensated in accordance with the

BKRES Agreement and Listing Agreement, respectively, and such compensation shall not hereafter

be subject to challenge except under the standard of review set forth in Section 330 of the

Bankruptcy Code.

             6.        BKRES and Listing Agent shall be authorized to receive and retain their fees

from Secured Creditor at the successful closing of the sale of the Property without necessity of

further order of the Court. The estate shall, in no circumstance, be obligated to compensate BKRES

or Listing Agent in such event and BKRES and Listing Agent shall not have a claim against the

estate for any unpaid amounts. BKRES and Listing Agent, and anyone claiming by, through or

under either of them, shall only have recourse for recovering its fee to Secured Creditor. The estate

shall have no liability for any such claim.

             7.        Notice of the Application was adequate and proper.


                                                   9
           Case 6:18-bk-05179-CCJ          Doc 19       Filed 11/28/18   Page 10 of 18
  




              8.        This Court shall retain jurisdiction to hear and determine all matters arising

 from or related to the implementation of this Order.

                                                  ###




Submitted By:
Arvind Mahendru
Chapter 7 Trustee
5703 Red Bug Lake Rd. #284
Winter Springs, FL 32708
Phone: (407) 504-2462




 (Arvind Mahendru shall serve a copy of the signed Order on all interested parties and file with the
 Court a certificate of service conforming with Local Rule ______).




                                                  10
Case 6:18-bk-05179-CCJ   Doc 19   Filed 11/28/18   Page 11 of 18
Case 6:18-bk-05179-CCJ   Doc 19   Filed 11/28/18   Page 12 of 18
Case 6:18-bk-05179-CCJ   Doc 19   Filed 11/28/18   Page 13 of 18
Case 6:18-bk-05179-CCJ   Doc 19   Filed 11/28/18   Page 14 of 18
Case 6:18-bk-05179-CCJ   Doc 19   Filed 11/28/18   Page 15 of 18
Case 6:18-bk-05179-CCJ   Doc 19   Filed 11/28/18   Page 16 of 18
           Case 6:18-bk-05179-CCJ           Doc 19     Filed 11/28/18      Page 17 of 18




                      ;~'NITED STATES BANKRUPTCY COURT
                          \:lIDDLE DISTRICT OF FLORIDA

 In re:                                             Case No. 18-051'/~
                                                    Chapter OJ
 Bassam Alkowni
 Haseena Khan

          Debtors

         :"~·FIDAVIT OF KA VITA UTTAMCHANDANI IN SUPPORT OF
  _'\PPLICATION TO RETAIN BK GLOBAL REAL ESTATE SERVICES AND
      CENTURY 21 CARIOTI TO PROCURE CONSENTED PUBLIC SALE
                  PURSUANT TO 11 U.S.C. & 327. 328 AND 330

 :;YATE OF FLORIDA                      )


 COUNTY      o- orange
               KAVITA UTTAMCHANDANI. being duly sworn, says:

              1.       I am a real estate agent duly licensed bv the State of Florida.

                       i am an agent
                                -
                                     of Centurv- 21 Carioti a Florida Cornoration.
                                                                         .         with
eoroorate offices located at 1650 Sand Lake Rd Ste 107 Orlando. FL 32809 ("Listing
  gene).

                        I am familiar with the Annlication to Retain Century 21 Carioti. filed
. y the Trustee ("Application") and the property described therein.

             4.        I believe that I am experienced and qualified to represent the Trustee
'n connection with the marketing and sale of the real property located at 10436 SPARKLE
, "1" ORLANDO. FL 32836 (the "Property").

            5.        Century 21 Carioti has agreed to accept employment pursuant to tn,
  rms and conditions set forth in the Application and the pronosed commission structure.
~ased upon my experience and knowledge of the real estate market I believe that the
 ommission structure proposed to be paid to Listing Agent does not exceed customary
 ommissions in the applicable geographical area and are reasonable for the type of
 mployment proposed.
            Case 6:18-bk-05179-CCJ          Doc 19      Filed 11/28/18       Page 18 of 18




                     ;-~eilher I nor anv member of Century 21 Carioti hold or represent
.mv mterest adverse to the estate with respect to the matters for which we are to be
mployed and we are disinterested persons within the meaning of 11 U.S.C. § 101(\41. as
equired by ~ 327HL.

                          To The best of mv information and belief. neither I nor the other
mernoers of this firm have any connection with the Debtors. their creditors. or any other
 arty in interest or their respective attorneys or accountants, the U. S. Trustee, or any nerson
 mployed in the office of the U.S. Trustee, as required by Rule 2014 of the Federal Rules
Ji'Bankruptcy procedure except as set forth below.

             8.       I represent no interest adverse to the Debtors       or its estate In   tn,
 atters upon which I am to be engagec.

        FURTHER AFFIANT SAYETH NAUGHT.




                                      VERlFICATIO;-·

  Kavita Uttamchandani.    declare under the oenaltv of perjury to the provisions    of28
J.S.c. 1746 that the information in the Affidavit is true and correct to the best ofmv
 nowledge




                                                                Date   r (
